Case 2:05-cV-02069-.]P|\/|-de Document 10 Filed 06/16/05 Page 1 of 3 Page|D 17

IN THE UNITED sTATEs nxs'rRIcT coURT FlLED E`vw($/~..». D-C~
FoR THE wEsTERN DISTRICT oF TENNESSEE
wEsTERN DIvIs:coN 05 JUN 16 PH 6= 39

 

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PAT JOHNSON, W_D_ oF TN, MEMPH|S

Plaintiff,
No. 05-2069 Ml/V

V.

RELIANCE STANDARD LIFE
INSURANCE COMPANY,

v\_¢\_¢\_¢‘\_¢v\.¢v\-¢\-¢

Defendant.

 

ORDER DENYING DEFENDANT’S MDTION TO DISMISS AS MOOT

 

Before the Court is Defendant’s Motion to Dismiss
Plaintiff’s Complaint, filed January 26, 2005. Plaintiff
originally filed a Complaint in the Circuit Court of Shelby
County, Tennessee, asserting claims under Tennessee law for bad
faith breach of contract and for violation of the Tennessee
Consumer Protection Act. On January 26, 2005, Defendant filed a
notice of removal to this Court contemporaneously with a motion
to dismiss, asserting that Plaintiff’s claims were preempted by
the Employee Retirement Income Security Act of 19?4 (“ERISA”}, 29
U.S.C. § lOOl et seq.1 On May lO, 2005, Plaintiff filed an
Amended Complaint asserting claims only under ERISA.

Accordingly, Defendant's motion to dismiss is DENIED as moot.

 

1 Defendant did not file an answer to Plaintiff's Complaint,
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with F\u\e 58 and/or 79(a} FRCP on _Q "_.L_ " §§

Case 2:05-cV-02069-.]P|\/|-de Document 10 Filed 06/16/05 Page 2 of 3 Page|D 18

So ORDERED this I(Jth day of June, 2005.

Qm‘&l@

JO . MCCALLA
UN TED STATES DISTRICT JUDGE

 

STATES DISTRICT oURT - ESTERN ISRICT oF TENNESSEE

thice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:05-CV-02069 Was distributed by faX, mail, or direct printing on
June 17, 2005 to the parties listed.

 

 

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Honorable .1 on McCalla
US DISTRICT COURT

